                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

DAVID WAITS,
          Plaintiff,
                                                  Case Number 3:18-CV-00111-SLG
v.

DARRIN RAY HESS,
          Defendant.                              JUDGMENT IN A CIVIL CASE


DECISION BY COURT. This action came to trial or decision before the Court. The issues
have been tried or determined and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED:

    THAT the plaintiff recover non-economic damages in the amount of $100,000.00;
economic damages in the amount of $41,221.94 for a total judgment in the amount of
$141,221.94 from the defendant, Darrin Ray Hess.



APPROVED:

 s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge
 Date: July 22, 2019
 NOTE: Award of prejudgment interest, costs and          Lesley K. Allen
 attorney's fees are governed by D.Ak. LR 54.1,     Lesley K. Allen, Clerk of Court
 54.2, and 58.1.




[Jmt2 - Basic - rev. 1-13-16}




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